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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,
                     Plaintiffs,                                  4:14CR3020
      vs.
                                                       MEMORANDUM AND ORDER
BENJAMIN M. MARTIN, AUDREY
GLENN,
                     Defendants.


       Defendant Audrey Glenn has moved to continue the pretrial motion deadline, (filing
no. 27), because the defendant and defense counsel need additional time to fully review the
discovery received before deciding if pretrial motions should be filed.       The motion to
continue is unopposed. Based on the showing set forth in the motion, the court finds the
motion should be granted. Accordingly,

       IT IS ORDERED:

       1)     Defendant Audrey Glenn’s motion to continue, (filing no. 27), is granted.

       2)     As to both defendants, pretrial motions and briefs shall be filed on or before
              April 28, 2014.

       3)     As to both defendants, trial of this case is continued pending resolution of
              any pretrial motions filed.

       4)     The ends of justice served by granting the motion to continue outweigh the
              interests of the public and the defendants in a speedy trial. Accordingly, as to
              both defendants, the additional time arising as a result of the granting of the
              motion, the time between today’s date and April 28, 2014, shall be deemed
              excludable time in any computation of time under the requirements of the
              Speedy Trial Act, because despite counsel’s due diligence, additional time is
              needed to adequately prepare this case for trial and failing to grant additional
              time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(1), (h)(6) &
              (h)(7).

       March 25, 2014.                             BY THE COURT:

                                                   s/ Cheryl R. Zwart
                                                   United States Magistrate Judge
